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IN THE UNITED S'I‘A'I‘ES DIS'I‘RICT COURT J

FOR THE wEsTERN DISTRICT oF TENNESS _ ,‘ _
wESTERN DIVISION E§SJUN 27 PH J‘ l

 

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vS_ NO. 04~20330~Ma

RICKY BROWN ,

Defendant.

 

ORDER WAIVING APPEARANCE AT REPORT DATE

 

Before the court is the June 23, 2005, motion of defendant
Ricky Brown, to Waive his appearance at the report date on June
24, 2005.

The defendant‘s signed waiver of appearance is filed with
this order. For good cause shown, Ricky Brown’s appearance is
waived at the report date set on June 24, 2005, based on his
written waiver.

It is so ORDERED this 'lq“gday of June, 2005.

M/”“"/

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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UN1TED TEATS D1STR1C COURT - WESTERN D"R111CT o TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 91 in
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Honorable Samuel Mays
US DISTRICT COURT

